
Per Curiam.
*279The Court has determined that the order on appeal is not a final, appealable order as it fails to complete the judicial labor in the case. Accordingly, Appellee's motion to dismiss the appeal is granted and the appeal is dismissed.
Appellee's motion for attorney's fees based on section 627.428, Florida Statutes, is provisionally granted. In the event Appellee prevails before the trial court, the trial court shall determine Appellee's entitlement to fees for this appeal pursuant to section 627.428. If the trial court finds Appellee is entitled to fees, the trial court shall assess fees against Appellant pursuant to section 627.428.
In light of the dismissal, all other pending motions are denied as moot.
Rowe, Bilbrey, and Kelsey, JJ., concur.
